 Case 2:18-cv-00227-JRG Document 14 Filed 10/04/18 Page 1 of 1 PageID #: 123



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

FLECTERE LLC,                                    §
                                                 §
                                                 §    CIVIL ACTION NO. 2:18-CV-00227-JRG
               Plaintiff,                        §
                                                 §                (MEMBER CASE)
v.                                               §    CIVIL ACTION NO. 2:18-CV-00228-JRG
                                                 §
ACADEMY, LTD.,                                   §                  (LEAD CASE)
                                                 §
               Defendant.                        §

                                           ORDER

       Before the Court is Plaintiff Flectere LLC’s (“Flectere”) Unopposed Motion to Extend

Time to File the Proposed Protective Order and Initial and Additional Disclosures (the
  .
“Motion”). (Dkt. No. 13.) Having considered the Motion and in view of the Court’s previous

orders (and the clear language therein) extending Flectere’s initial disclosure deadline (2:18-

CV-228-JRG Dkt. Nos. 20, 23), the Court is of the opinion that the Motion should be and

hereby is GRANTED-AS-MODIFIED. Accordingly, it is ORDERED that Flectere shall file

a Proposed Protective Order and its Initial and Additional Disclosures on or before October

8, 2018. Flectere should not expect any additional extensions of time.
      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 4th day of October, 2018.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE
